✎AO 187 (Rev. 7/87) Exhibit and Witness List


                                                 UNITED STATES DISTRICT COURT
                                                                                       DISTRICT OF                                     Connecticut



                                      USA
                                                                                                                 EXHIBIT AND WITNESS LIST
                                        V.
                               Paul Perrotti                                                                           Case Number: 3:14-cr-00215-JAM-1

PRESIDING JUDGE                                                    PLAINTIFF’S ATTORNEY                                      DEFENDANT’S ATTORNEY
 Jeffrey Alker Meyer                                                 Sarah P. Karwan                                          Daniel C. Thibodeau
TRIAL DATE (S)                                                     COURT REPORTER                                            COURTROOM DEPUTY
 Fatico Hearing 1/28/2016                                           Diana Huntington                                          Y. Gutierrez
 PLF.      DEF.         DATE
                                       MARKED ADMITTED                                                   DESCRIPTION OF EXHIBITS* AND WITNESSES
 NO.       NO.        OFFERED

   X                  1/28/2016                                     WITNESS FBI Special Agent, Mellissa Vientos, New Haven CT

   X                  1/28/2016                         Yes         Exhibit #300 Summary Chart of loss amounts

   X                  1/28/2016                         Yes         Exhibit #302 Chart: TD Bank Middlebury Vol. Fire Dept Account

   X                  1/28/2016                         Yes         Exhibit #301 Chart: TD Bank Middlebury Vol. Fire Dept. Account

   X                  1/28/2016                         Yes         Exhibit #303 Chart: TD Bank Middlebury Vol. Fire Dept. Account Summary payments

   X                  1/28/2016                         Yes         Exhibit #303A Checks and invoices

   X                  1/28/2016                         Yes         Exhibit # 304 Chart

   X                  1/28/2016                         Yes         Exhibit# 305 Chart - debit card summary

   X                  1/28/2016                         Yes         Exhibit #306 CD

             X        1/28/2016                                     Exhibit #1 FBI Reports

   X                  1/28/2016                                     WITNESS Brendan Browne, Middlebury, CT

             X        1/28/2016                         Yes         Exhibit #2 FBI Reports re: Brendan Browne

             X        1/28/2016                                     WITNESS Darren Wittko, Danbury, CT

             X        1/28/2016                                     WITNESS James Redway, Middlebury,CT

             X        1/28/2016                                     WITNESS Paul Perrotti, Middlebury, CT

             X        1/28/2016                         Yes         Exhibit #3 Paul Perrotti's Electric Wells Fargo Account 2013

             X        1/28/2016                         Yes         Exhibit #4 Paul Perrotti's Electric Wells Fargo Account 2012

             X        1/28/2016                         Yes         Exhibit #5 Paul Perrotti's Electric Wells Fargo Account 2011




* Include a notation as to the location of any exhibit not held with the case file or not available because of size.

                                                                                                                                     Page 1 of    1   Pages
